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                                 UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO: 21-CV-22863-KMM

   JUDITH ANNE HAYES, individually and on behalf
   of W.H., a minor, et. al.,

           Plaintiffs,

   v.

   GOVERNOR RONALD DION DESANTIS, in
   his official Capacity as Governor of the State of
   Florida, et. al.,

         Defendants.
   _____________________________________________________________/

                     DEFENDANT SCHOOL BOARD OF ALACHUA COUNTY’S
                      REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                        MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

           Defendant School Board of Alachua County (“Alachua School Board”), by and through

   undersigned counsel, replies in support of its Motion to Dismiss Plaintiffs’ Complaint and states the

   following:

           Defendant Alachua School Board, the School Board of Orange County, and the School Board

   of Pasco County all filed the same or similar Motions to Dismiss in relation to issues of venue.1

   Plaintiffs filed a Response to Defendants’ Orange and Pasco School Board’s Motions to Dismiss.

   (Doc. 91). However, when Plaintiffs filed their response to Alachua School Board’s Motion to

   Dismiss, they included an additional argument stating, “SBAC is not disputing her standing,

   exhaustion of her remedies or the relief that she wants, only the venue.” (Doc. 100 at p.2). Through

   their response, the Plaintiffs misconstrue and misrepresent the Alachua School Board’s argument.



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    Similarly, the other School Boards outside the Southern District Court (Hillsborough County and Volusia County)
   also argued venue as a basis for the Motions to Dismiss Plaintiffs’ Complaint.

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          In Alachua School Board’s Motion to Dismiss, just like the School Board of Orange County,

   it reserved its right to assert arguments such as failure to exhaust administrative remedies and other

   substantive grounds for dismissal upon resolution of the threshold venue issue. (See Doc. 79 at p.3;

   see also Doc. 65 at p.7). As such, the Alachua School Board would respectfully direct the Court to its

   Motion to Dismiss and arguments stated within its Motion to Dismiss, and not Plaintiffs’

   misrepresentations of the Alachua School Board’s arguments.



   Dated: September 24, 2021.

                                                         Respectfully submitted,

                                                         DELL GRAHAM, P.A.

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                                                         Alachua County




                                    CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on this 24rd day of September, 2021, a true and correct copy of
   the foregoing was served via the Court’s CM/ECF system all counsel of record.




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